^
Fill B-tfiis information to identify your case
                   Anabel                                           Gutierrez
Debtor 1
                                                                                                                     AUG I 4 2019
Debtor 2
(Spouse, if filing) F^rsEName                Midrite Name



United States Bankruptcy Court for the;

Case iiumber
                                          Phoenix
                                                                        Sistrict oi
                                                                                       -izona

                                                                                      (State)
                                                                                                             FOR    ^ '^                       Q Checkif this is an
(!f k"own)                                                                                                                                          amended filing




    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15
    If you are an individual filing under chapter 7, you must fill out this form if:
    .     creditors have claims secured by your property, or
    . you have leased persona! property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
    whicheveris earlier, unless the court extendsthe time for cause. You must also send copies to the creditors and lessors you list on the form.
    If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
    Both debtors must sign and date the form.
    Be ascomplete andaccurateas possible. Ifmore spaceis needed,attacha separatesheetto thisform. Onthe top ofanyadditionalpages,
    write your name and case number (if known).

        Part 1 s      List Your Creditors Who Have Secured Claims

        1 Foranycreditorsthatyou listed in Part1 of ScheduleD:CreditorsWhoHaveClaims Securedby Property(OfficialForm 106D),fill in the
           information below.

            Identify the creditor and the property that Is collaterai                       Whatdo you intend to dowiththe property that   Didyou claimthe property
                                                                                            secures a debt? ,                              as exempt on ScheduteC?

           Creditor'STheMoneySource                                                        LJ Surrenderthe property.                        01 No
           name:
                                                                                           Q Retain theproperty and redeemit.              XQ Yes
           DescnpfonofHomestead:4621N.50thAvenue, Phoenix,AZ 85031 ^ Q ^^ ^ ^^ ^ ^ .^ ^
           Snygdebt:                                                                            Reaffim^t^^emeiit.
                                                                                           Li Retain the property and [explain]:



           Creditor's                                                                      Q Surrender the property.                        a No
           name:
                                                                                           LJ Retain the property and redeem it.            a Yes
           Description of
                                                                                           Q Retain the property and enter into a
           property                                                                             Reaffirmation Agreement.
           securing debt:
                                                                                           Q Retain the property and [explain]:


           Creditor's                                                                      Q Surrender the property.                        n No
           name:
                                                                                           LJ Retain the property and redeem it.            a Yes
           Description of                                                                  Q Retain thepropertyandenterinto a
           property
                                                                                                Reaffirmation Agreement.
           securing debt:
                                                                                           LI Retain the property and [explain];


           Creditor's                                                                      LJ Surrenderthe property.                        a No
           name:
                                                                                           LJ Retain the property and redeem it.            a Yes
           Description of                                                                  Q Retain the property andenterinto a
           property
                                                                                                Reaffirmation Agreement.
           securing debt:
                                                                                           Q Retain the property and [explain]:



            Case 2:19-bk-09756-BKM
    Official Form 108          Statement Doc    19 forFiled
                                         of Intention         08/14/19
                                                       individuals           Entered
                                                                   Filing Under Chapter 7 08/15/19 08:57:45                                         page 1
                                                                                                                                                    Desc
                                          Main Document              Page 1 of 2
              ... Anabel                         Gutierrez
Debtor 1.                                                                                   Case number {If known)
                                               LS.1t N.3.TO




  Part             List Your Unexpired Personal Property Leases

  Foranyunexpiredpersonal property leasethatyou listed in ScheduleG: ExecutoryContractsandUnexpiredLeases(OfficialForm 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are stilt in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        pescribe your unexpired personal prpperty leases                                                             Will the lease be assumed?


       Lessor's name:                                                                                                1-1 No
                                                                                                                     a Yes
       Description of leased
       property:


       Lessor's name:                                                                                                UNO
                                                                                                                     1-1 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                UNO
       Description of leased                                                                                         a Yes
       property:


       Lessor's name:                                                                                                Q No
                                                                                                                     a Yes
       Description of leased
       property:



       Lessor's name:                                                                                                UNO
                                                                                                                     a Yes
       Description of leased
       property:


       Lessor's name:                                                                                                a No
                                                                                                                     LlYes
       Description of leased
       property:



       Lessor's name:                                                                                                a No
                                                                                                                     a Yes
       Description of leased
       property-




  Part 3:          Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.

  ^3i^A6j^Wi^z^
       Signature
           ature f Deb^ir 1                                     Signatureof Debtor 2

       Date   cb
              MM/ DD ; YYYY
                                                                Date
                                                                       MM /   DD /   YTfY




 Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                              page 2
        Case 2:19-bk-09756-BKM                       Doc 19 Filed 08/14/19 Entered 08/15/19 08:57:45                                    Desc
                                                      Main Document    Page 2 of 2
